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 4   Attorney for Defendant, KENNETH JOHNSON
 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                             EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,   )              CASE NO. 06-00284
 9                               )
          Plaintiff,             )
10                               )              STIPULATION AND ORDER
     v.                          )
11                               )
     KENNETH JOHNSON,            )
12                               )
          Defendant.             )
13   ____________________________)
14        The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing scheduled for April 23, 2007, be moved to March 26,
16   2007 at 9:00 a.m. in the above-entitled court.
17        The sentencing issues are uncontested; the parties anticipate submitting the
18   matter on the PSR.
19
     DATED: March 21, 2007              /s/ Kevin P. Rooney
20                                      KEVIN ROONEY
                                        Assistant United States Attorney
21                                      This was agreed to by Mr. Rooney
                                        via telephone on March 20, 2007
22
23   DATED: March 21, 2007              /s/ Roger K. Litman
                                        ROGER K. LITMAN
24                                      Attorney for Defendant
                                        KENNETH JOHNSON
25
     IT IS SO ORDERED.
26
     Dated: March 23, 2007                  /s/ Oliver W. Wanger
27   emm0d6                            UNITED STATES DISTRICT JUDGE
28

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